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                       EXHIBIT 13




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 RESEARCH                                                                                                                                      Open Access

Size and dose dependent effects
of silver nanoparticle exposure on intestinal
permeability in an in vitro model of the human
gut epithelium
Katherine M. Williams, Kuppan Gokulan, Carl E. Cerniglia and Sangeeta Khare*


  Abstract
  Background: The antimicrobial activity of silver nanoparticles (AgNP) has led to interest in their use in consumer
  products such as food contact materials, utensils, and storage containers. Incorporation of these materials into items
  intended for food processing and storage suggests that consumer use of these products could result in gastrointes-
  tinal exposure to AgNP, should the nanoparticles migrate from the product. The health impact of AgNP exposure is
  unknown, especially effects related to intestinal epithelial permeability and barrier function. This study examined the
  effects of AgNP exposure of different sizes (10, 20, 75 and 110 nm) and doses (20 and 100 µg/mL) on the permeability
  of T84 human colonic epithelial cells, which serve as an in vitro model of the human gut epithelium.
  Results: Results showed that effects of AgNP on the T84 epithelial cells were size- and dose-dependent, with the
  10 nm AgNP causing the most significant changes. Changes in permeability of the epithelial cell monolayer, as meas-
  ured by transepithelial electrical resistance, after exposure to 10 nm AgNP were most dramatic at the highest dose
  (100 µg/mL), but also observed at the lower dose (20 µg/mL). AgNP could be visualized inside cells using transmis-
  sion electron microscopy and silver was detected in basal wells using inductively coupled plasma-mass spectrometry.
  Exposure to AgNP significantly affected the expression of genes involved in anchoring tight junctions, cellular prolif-
  eration and signaling, endocytosis, and cell–cell adhesion, with the 10 nm AgNP having the greatest effect.
  Conclusions: The results of this study show that small-size AgNP have significant effects on intestinal permeability
  in an in vitro model of the human gastrointestinal epithelium. Such effects have the potential to compromise the
  integrity of the intestinal epithelium and this disruption of barrier function could have health consequences for the
  gastrointestinal tract.
  Keywords: Silver nanoparticles, Intestinal permeability, Cell junctions, Barrier function


Background                                                                            marketed for functions such as infection control and odor
The incorporation of engineered nanomaterials into                                    reduction and currently include clothing, water purifica-
industrial and consumer products is an emerging trend                                 tion systems, biocides, appliances, and medical products
due to their unique physical and chemical properties.                                 [1–7]. There is also great interest in using AgNP in food
This is especially true for silver nanoparticles (AgNP),                              packaging and other food contact materials for benefits
which have been shown to have considerable antimicro-                                 such as extended shelf life and foodborne pathogen con-
bial activity. Consumer products containing AgNP are                                  trol (bacterial and viral) and items such as kitchen uten-
                                                                                      sils, food storage containers, cutting boards, and baby
                                                                                      bottles that claim to contain AgNP are available inter-
*Correspondence: sangeeta.khare@fda.hhs.gov                                           nationally [4, 8–13]. AgNP have also been found to be
Division of Microbiology, National Center for Toxicological Research, US              generated by some edible decorations intended for baked
Food and Drug Administration, 3900 NCTR Rd, Jefferson, AR 72079, USA

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goods [14]. In addition, colloidal silver solutions contain-   110 nm) to evaluate changes in paracellular permeabil-
ing AgNP are marketed as health supplements and are            ity and cell toxicity. Effects of AgNP exposure on cellu-
available for purchase at grocery stores and through the       lar permeability were determined by a comprehensive
internet [2, 12, 14, 15]. This suggests that consumer use      approach examining transepithelial electrical resistance
of these products could result in exposure of the gas-         (TER), immunofluorescence, mRNA gene expression,
trointestinal (GI) system to AgNP and raises questions         and transmission electron microscopy (TEM). Further-
about the potential health effects of such use [12].           more, the ability of the silver to pass through the epithe-
  This exposure is of particular concern because cur-          lial cell monolayer was confirmed by inductively coupled
rent research continues to link more and more health           plasma-mass spectrometry (ICP-MS).
conditions with dysfunction of the gastrointestinal tract.
Natural processes can lead to increases in intestinal per-     Results
meability, but permeability changes are often associ-          Characterization of nanoparticles and T84 monolayers
ated with inflammatory conditions such as autoimmune           All nanoparticles were found to be sterile by plate-growth
diseases and invasion of pathogenic microorganisms             assay and below acceptable levels for endotoxin (<1 EU/
[16–18]. An increase in intestinal permeability often          mL), given the concentrations of AgNP used in this study
occurs through disruption of the tight junctions, pro-         [27, 28]. Protein corona was assessed by comparing pro-
teins that link epithelial cells together into a functional    tein gel bands from samples eluted from cell culture-
barrier capable of blocking the passage of microorgan-         incubated AgNP with bands from untreated cell culture
isms and larger molecules, while allowing absorption of        medium. Minor protein corona formation was observed
water and nutrients [16, 17]. This function is critical to a   at the 100 µg/mL concentration on the smaller (10 and
healthy gastrointestinal system and many conditions spe-       20 nm) AgNP, but none was observed at the 20 µg/mL
cifically have been linked to increased permeability of the    concentration (data not shown). This suggests that the
gut, including Crohn’s Disease, ulcerative colitis, Type I     20 µg/mL AgNP concentration results in little protein
diabetes, irritable bowel syndrome, GI infection, celiac       adsorption and that the particles are relatively unmodi-
disease, and graft-versus-host disease [16, 19]. The exact     fied and available for biological interaction. TEM analysis
contribution of increased gut permeability to disease          of T84 cells grown on transwells (Fig. 1) showed polar-
states is unknown, but current evidence suggests that          ized cells with villi and the presence of cell–cell junctions
increases in permeability may prompt cycles of intestinal      between individual cells, demonstrating the ability of T84
inflammation, causing further increases in permeability        cells to form functional epithelial layers under in vitro
and setting the GI tract on an inflammatory course that        conditions.
exacerbates disease progression [16]. As previously men-
tioned, the growing incorporation of AgNP into common
household goods, particularly food contact materials,
increases the likelihood of human intestinal exposure to
such materials. Additionally, a number of studies have
shown that exposure to AgNP may cause toxicity and
inflammatory responses [20–23]. Therefore, there are
legitimate concerns regarding whether the consump-
tion of AgNP could lead to increased permeability of the
intestinal epithelium.
  The purpose of this study was to perform an in vitro
evaluation of the effects of AgNP on the permeability
of the intestinal epithelium as modeled by T84 cells, an
immortalized human colonic epithelial cell line. These
cells serve as an excellent in vitro model for the human
gut epithelium because they both produce mucus and,
on transwells, form polarized monolayers in which
changes in permeability can be measured quantitatively
[24–26]. To our knowledge, this is the first study using
the T84 cell line to evaluate the potential gastrointestinal
effects of silver nanomaterials. In this work, monolay-
ers of T84 cells were inoculated with two doses (20 and         Fig. 1 TEM image of T84 cells grown on transwells showing polarized
100 µg/mL) of AgNP of different sizes (10, 20, 75 and           cells with villi and junctions between individual cells




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Toxicity effects and cellular viability after AgNP exposure                   dying cells are visible (Fig. 2f ). An image from the 3 h
Two distinct methods were used to evaluate cellular                           time point is shown because treatment for 48 h resulted
response to AgNP exposure. Cytotoxic effects of AgNP                          in complete cell death, with very few cells still attached
exposure on T84 cells were evaluated by acridine orange/                      to the coverslip. Similarly, cells treated with 20 µg/mL of
ethidium bromide staining. Viable cells stained by this                       silver acetate for 48 h were almost universally in late stage
method fluoresce green, while apoptotic and necrotic                          of cell death (data not shown).
cells fluoresce orange–red. Stages of apoptosis can also                         Impact of 48 h AgNP exposure on T84 cell viability
be estimated from the state of chromatin in the cell                          was evaluated through use of a commercially available
nucleus [29, 30]. Treatment of cells for 48 h with AgNP of                    ATP-based luminescence assay. Very little effect on cell
different sizes (Fig. 2b–e) showed little to no change com-                   viability was demonstrated by treatment with AgNP at
pared to control (Fig. 2a), indicating that AgNP treatment                    the 20 µg/mL dose, with the exception of the 20 nm par-
did not induce cell death. However, after treatment with                      ticle. However, significant decreases in cell viability were
100 µg/mL of silver acetate for 3 h, a number of dead/                        observed for all AgNP sizes when cells were treated with




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 Fig. 2 Acridine orange/ethidium bromide staining of T84 cell monolayers showing a control cells and cells after treatment with b 10 nm, c 20 nm,
 d 75 nm, and e 110 nm AgNP (100 µg/mL) for 48 h. T84 cells after treatment with 100 µg/mL of silver acetate (f) for 3 h are also shown




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the 100 µg/mL doses (Fig. 3). Cells treated with silver
                                                                                              250
acetate at the lower dose showed a small, but significant,
decrease in viability, while wells treated with 100 µg/
mL of silver acetate showed that almost no viable cells
remained.                                                                                                   -         110nm

                                                                                              150   -




Effect of AgNP exposure on epithelial permeability
To measure changes in permeability, T84 cells grown on
transwells were exposed to AgNP (10, 20, 75 and 110 nm)
at doses 20 µg/mL (Fig. 4a) and 100 µg/mL (Fig. 4b) for                                             -




48 h. TER measurements to assess changes in resist-
ance compared to initial reading were taken at 15 min,
1, 2, 3, 24 and 48 h. Silver acetate at 20 and 100 µg/mL,
in addition to EGTA, were used as controls (Fig. 4c).
For both 20 and 100 µg/mL doses, the only tested AgNP
that resulted in significant changes in permeability was                                      300                 2       Control

the 10 nm particle. For the 20 µg/mL dose, the 10 nm                                          250                 l:l     75nm
AgNP caused significant depression of TER, indicating                                                                     110nm

increased permeability of the cell layer, at the 48 h time
point (p = 0.01). After exposure to the 100 µg/mL dose,                                                 -
                                                                                              150
the changes were much more dramatic, with significant
increases in permeability observed at the 2 h (p = 0.03),
24 h (p < 0.001), and 48 h (p < 0.001) time points. Cells
showed increased permeability after exposure to sil-
ver acetate at both doses. Decreases in TER measure-
ments were significant for the 20 µg/mL dose at the 2, 3                                                        15 minutes     1    hour   2   hours   3   hours   24 hours   48 hours


and 24 h time points. Dramatic increases in permeabil-
ity were seen for the 100 µg/mL dose at all time points
and TER values continued to decrease over time. Cells
exposed to EGTA, a positive control capable of induc-
ing increased permeability, showed the expected reduced                                                 <




TER measurements at 15 min, 1 and 2 h time points.
These values gradually recovered, likely as a result of the                                             -




compound passing from the apical compartment through
                                                                                                                      *
                                                                                                        -
                                                                                               50                                    *
                                                                                                                                                 *           *
                                                                                                                                                                       *          *

                                                                                                O

                                                                                                                15 minutes          hour   2   hours   3   hours   24 hours   48 hours
                          20 ug/mL                                                                                             1



                  l:l     100 uglm   L
                                                                                                                                                Timepoint
     200000
              -
                                                                                          Fig. 4 Relative changes in TER of T84 cells after exposure to AgNP-
                                                           *

                                                   *                                      20 µg/mL (a) AgNP-100 µg/mL (b), and controls (c). Error bars repre-
                                *
              -
                                            *
                                                                                          sent standard error of the mean (SEM) of 6 independent experiments
     150000
                           *

                                     *
              -
     100000
                                                                                         the cell layer and becoming further diluted in basal
                                                                                         media. Decreases in TER were also observed for 10 nm
      50000
                                                                                         AgNP at 24 h (20 µg/mL dose) and 1 and 3 h (100 µg/mL
                                                                                         dose) time points, but these results were not statistically
                                                               *



                                                                               i.
                                                                                         significant.
          o

                        10nm    20nm     75nm   110nm   SINerAcelale Control   Tox   C


 Fig. 3 Results of ATP-based cell viability assay after treatment with
 AgNP, silver acetate, and controls for 48 h. ‘Control’ cells were treated
                                                                                         Penetration of AgNP into the epithelial cell layer
 only with water (negative control), while ‘Tox C’ cells were treated
 with 0.5 % hydrogen peroxide (positive control). Error bars represent                   Given the observed effect of AgNP on epithelial layer
 SEM and presence of asterisk denotes significance at p < 0.05                           permeability, we used transmission electron microscopy




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(TEM) to see if AgNP could be observed inside T84 epi-                     (Additional file 1: Figure S2). Occludin is one of the pri-
thelial cells after exposure. Cells were treated with AgNP                 mary components of tight junctions and E-cadherin is an
(10 and 75 nm) and incubated for 48 h before fixation                      important component of adherens junctions in epithelial
and imaging. Cells treated with 10 nm AgNP (50 µg/mL)                      cells. T84 cells were treated with the 10 nm AgNP at a
(Fig. 5a) and 75 nm AgNP (20 µg/mL) (Fig. 5b) revealed                     concentration of 100 µg/mL because this size and dose
potential AgNP within cells. These images showed dark                      combination showed permeability increases in the TER
particles with sizes approximating known AgNP size dis-                    data. Cells treated with EGTA and water were used as
tributions. Analysis of these particles using energy dis-                  a positive and negative control, respectively, and cells
persive X-ray spectroscopy (EDS) indicated the presence                    treated with silver acetate (50 µg/mL) were used to assess
of silver, suggesting that these may be internalized AgNP                  the impact of silver ions. The 50 µg/mL dose was selected
(Additional file 1: Figure S1). Interestingly, the observed                based on the results of the TER study, as the 20 µg/mL
particles in the 10 nm AgNP sample do not appear to                        dose did not result in a major change in permeability at
be agglomerated within the cell. Thus it appears that the                  24 h, while the 100 µg/mL dose showed drastic increases.
small sized AgNP may gain entry into the cells in sin-                     For both Occludin and E-cadherin, no significant effects
gle or monomeric form. In cells treated with 100 µg/mL                     were observed after 24 h treatment with 10 nm AgNP.
doses, small amounts of silver were detected in media                      However, slight changes in cell–cell junctions can be seen
(collected from the basal compartment of transwell) by                     after silver acetate treatment. For both proteins, EGTA
ICP-MS, suggesting that silver was passing through the                     caused major disruption of cellular adhesion. Interest-
cell layer from the apical compartment. No silver was                      ingly, dark spots (Figs. 6b and S2B—shown with arrows)
detected in basal media of cells treated with 20 µg/mL                     were consistently present in cells treated with AgNP, but
doses of AgNP and silver acetate. The detected amounts                     not in any of the other controls, suggesting the presence
ranged between 0.82 and 1.44 % of total spiked silver                      of AgNP agglomerates on the monolayer surface.
for the 2 h time point and 0.71–6.06 % for the 48 h time
point (Additional file 1: Table S1). However, this method                  Impact of AgNP exposure on expression of human cell
does not distinguish between different forms of silver,                    junction genes
so it is unknown if the silver detected was in the form of                 T84 epithelial cell monolayers were evaluated for changes
AgNP or silver ions.                                                       in gene expression resulting from exposure to AgNP.
                                                                           Effects of 48 h exposure to 10 and 20 nm AgNP (100 µg/
Effect of AgNP exposure on expression of molecules                         mL) and silver acetate (20 µg/mL) were evaluated using
involved in barrier function                                               a PCR array plate with 84 genes related to cell junctions
Immunofluorescence analysis of AgNP-treated cells was                      and permeability. The 100 µg/mL dose was used for the
performed to determine effect on two major cellular                        AgNP as it was the dose at which significant effects were
adhesion molecules, Occludin (Fig. 6) and E-cadherin                       observed in the TER experiment, while the 20 µg/mL




 Fig. 5 TEM images of T84 cells with internalized nanoparticles (arrows) after exposure to a 10 nm and b 75 nm AgNP




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 Fig. 6 Expression of Occludin protein in T84 cells after 24 h treatment with a control, b 10 nm AgNP, c EGTA, and d silver acetate. Arrows point to
 suspected nanoparticle agglomerates in AgNP-treated cells




dose was used for the silver acetate as the cytotoxicity                      expression across more than one treatment group, as it
data showed that the 100 µg/mL dose caused toxicity to                        was downregulated in both 10 nm AgNP and silver ace-
cells. The tested AgNP were also selected based on the                        tate groups. CAV2 was also downregulated in the 20 nm
TER experiment, as it was intended to compare changes                         AgNP treatment group, but the result was not significant.
in gene expression resulting from exposure to AgNP that                       A number of claudin genes also appeared to be affected
both induced (10 nm) and did not induce (20 nm) sig-                          by treatment with AgNP and silver acetate, although the
nificant changes in permeability. Genes with significant                      result was not statistically significant. The gene expres-
changes in expression were those with p < 0.05 when                           sion profile clearly indicates that the pattern of changes
compared to control (Fig. 7). Of the three groups, treat-                     in permeability caused by the silver ions is distinct from
ment with the 10 nm AgNP showed the most signifi-                             that caused by the AgNP.
cant changes in gene expression compared to treatment
with the 20 nm AgNP or silver acetate. After exposure                         Discussion
to the 10 nm AgNP, T84 cells demonstrated downregu-                           One of the most important functions of the gastrointes-
lation of the Caveolin 2 (CAV2) gene and upregulation                         tinal epithelium and supporting elements, such as the
of Desmoglein 3, Integrin β4, Integrin β5, Junction pla-                      mucus layer, is as a physical and biochemical barrier
koglobin, Notch 1 and Tight junction protein 2 (DSG3,                         between the external environment present in the lumen
ITGB4, ITGB5, JUP, NOTCH1, and TJP2) genes. Of these                          and the interior of the human body [16, 31]. As such,
genes, DSG3 and TJP2 showed the greatest changes in                           the state of epithelial integrity can serve as an indica-
expression, with 3.8- and 2.6-fold increases, respectively.                   tor of overall gastrointestinal health. A previous study
Treatment with the 20 nm AgNP only resulted in signifi-                       by our group found size and dose-dependent intestinal
cant changes to one gene, Desmocollin 3 (DSC3), which                         responses to AgNP in an in vivo model [32]. The present
was downregulated. Exposure to silver acetate (20 µg/                         study is an in vitro approach to assess if, in fact, AgNP
mL) resulted in downregulation of the CAV2 gene and                           toxicity is size and dose dependent in intestinal epithelial
upregulation of Integrin α9 (ITGA9). The CAV2 gene                            cells. Based on results obtained from our earlier study, a
was the only gene demonstrating significant changes in                        20 nm AgNP was added to the group of previously tested




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                                                                                            AgNP showed un-agglomerated nanoparticles inside of
                                                                                            intestinal epithelial cells, indicating that 10 and 75 nm
                         control
                   |:|   10nm                                                               particles are capable of penetrating the epithelial cell sur-
              -          20nm
      4
                                   Control                                                  face. Analysis of basal media after treatment of epithelial
                                                                                            cell monolayers with AgNP suggests that small amounts
                                                                              *
      3
              -.


                                                                                            of silver are capable of passing through the in vitro cell
                                                                                            layer. However, more work is needed to establish how
      2
          ..
                                               *                                            permeability changes affect the movement of silver
                                                                                            through the cell layer and to determine whether the pas-
                           *
                                   as
                                                                                            saged silver is in the form of AgNP or silver ions.
                                                                                               In agreement with the permeability data, most sig-
              _
      1




                                                                                            nificant changes in gene expression were observed after
      0
                           CAV2                JUP           NOTCH1          TJP2
                                                                                            exposure to the 10 nm AgNP. Exposure to 10 nm AgNP
      5
                                                                                            significantly increased expression of the tight junction
                                                                                            protein-2 (TJP2) gene. This gene encodes ZO-2, a protein
                                                                            Control
                                         *
                                                                      |:l   10nm            involved in anchoring tight junctions that has been shown
              -
                                                                            20nm
      4
                                                                            AgOAc Control   to inhibit the Wnt pathway and cellular proliferation and
                                                                                            promote apoptosis [33]. Therefore, the upregulation of
      3
          -

                                                                                            this gene by 10 nm AgNP exposure suggests that this gene
                                                                  *
                                                                                            could play a role in determining cell fate upon exposure
      2       .
                                                                                  *         to small AgNP. The fact that downregulation of caveolin-2
                                                         *
                                                                                            (CAV2), which encodes a protein integral to the formation
              _
                           -k                                                               of caveolae and involved in many other cellular processes,
                                                                                            was strongest for silver acetate and 10 nm particles, but
      1




                                                                                            that similar effect was also observed for 20 nm particles,
      0

                         DSC3           DSG3         ITGA9       ITGB4            ITGB5
                                                                                            indicates that this effect may be a result of silver ion expo-
 Fig. 7 Changes in relative expression of genes related to cell–cell                        sure during treatment with silver acetate and a cumulative
 junctions and epithelial barrier function in T84 cells exposed to 10 nm                    effect of ions and nanoparticles during AgNP exposure.
 AgNP, 20 nm AgNP, and silver acetate compared to control cells. Error                      Interestingly, there is evidence that CAV2 may play a
 bars represent SEM and presence of asterisk denotes significance at                        role in the gut response to endotoxin, as CAV2-deficient
 p < 0.05
                                                                                            mice were shown to be more sensitive to LPS exposure
                                                                                            than wild-type mice, demonstrating more gastrointesti-
                                                                                            nal tissue damage and increased intestinal permeability
particles to further explore AgNP size-dependent effects.                                   [34]. Increased sensitivity to LPS as a result of decreased
In this study, the most substantial effects on the intestinal                               expression of CAV2 could result in altered interactions
epithelium were observed with the 10 nm AgNP, both in                                       between host and commensal bacteria, which has been
the permeability and gene expression analyses, compared                                     observed in a previous AgNP study in a rat model [32].
to the 20, 75 and 110 nm AgNP.                                                              AgNP exposure also resulted in significant effect on three
  In the TER experiment, changes in the intestinal cell                                     genes (DSG3, DSC3, and JUP) that encode elements of
epithelium permeability after exposure to 10 nm AgNP                                        desmosomes, intercellular junctions that are involved in
were seen as early as 24 h at the 20 µg/mL dose, with                                       maintenance of strong adhesion between cells. Interest-
significant increases at the 48 h time point. Exposure at                                   ingly, two of these genes were significantly upregulated
the 100 µg/mL dose caused significant increases in cel-                                     and one was downregulated. This could indicate that cells
lular permeability, even after exposure periods as short as                                 treated with AgNP were attempting to compensate for the
2 h. An immunofluorescence-based evaluation of Occlu-                                       increased permeability by increasing the expression of
din and E-cadherin protein expression showed little to                                      molecules involved in cell–cell adhesion. Such a mecha-
no change after treatment with high-dose 10 nm AgNP,                                        nism could serve a protective function in vivo, serving to
suggesting that the increases in permeability observed in                                   reinforce epithelial barrier integrity during AgNP expo-
this study occur by a mechanism not involving these two                                     sure. These observed effects of 10 nm AgNP on intestinal
major cellular adhesion proteins. This result correlated                                    permeability are further supported by a recently pub-
well with the gene expression data, which also showed                                       lished in vivo study that found greater silver accumula-
minimal impact of AgNP exposure on these two genes.                                         tion in rat tissues after oral administration of 10 nm AgNP
Observation of monolayers by TEM after exposure to                                          than 75 and 110 nm particles. The authors suggested that




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this could be a result of 10 nm AgNP more easily pene-           et al. [42] used a co-culture method to incorporate mucus
trating the intestinal epithelial layer [35].                    into a Caco-2-based system, finding that the mucus
   To evaluate whether cytotoxic effects of AgNP could           layer influenced AgNP toxicity effects and inflammatory
be responsible for the increases in epithelial permeability      responses in cells. As previously mentioned, one of the
observed during the TER study, cell toxicity as well as cell     unique characteristics of T84 cells is that they produce a
viability assays were utilized. We observed apparent dis-        mucus layer [43], which can be visualized through Peri-
crepancy between the staining-based cell death assay and         odic acid-Schiff staining of cell monolayers (Additional
the luminescence-based viability assay. These two assays         file 1: Figure S3). Throughout experimentation, our group
(staining vs luminescence) measure different markers of          observed the presence of suspected AgNP agglomer-
cell health: the staining-based assay indicated that there       ates on the cell monolayer surface when viewed under a
was little or no effect of AgNP on T84 cytotoxicity, while       microscope. This is unsurprising, as it is well-documented
the ATP-based viability assay showed a marked decrease           that mucus binds and traps nanoparticles, especially those
in luminescence intensity for cells treated with some            that are negatively-charged [44, 45]. Given the protec-
AgNP at the 100 µg/mL dose. These results could indi-            tive function of the mucus layer in the intestinal tract
cate that the treated cells had decreased metabolic activ-       [46], the presence of this layer in the in vitro model likely
ity while remaining viable. This effect is certainly feasible,   mitigates some of the toxic effects of the AgNP and sil-
but the authors believe that this difference could also be       ver ions on the underlying cell layer. However, size has
explained by the adhesion of AgNP to the cell monolayer          also been shown to be an important factor in the ability of
surface, which resulted in a dark deposit on the cells. This     nanoparticles to penetrate mucus, with smaller particles
effect, most prominent in wells treated with small (10 and       more likely to avoid mucoadhesion [44]. This phenom-
20 nm) AgNP at the highest dose (100 µg/mL), was pre-            enon may help to explain the size-specific response seen
sent even after removal of media from the wells and likely       in this study, in which exposure to 10 nm AgNP caused
interfered with the luminescence-based assay. Similar            increased epithelial permeability while exposure to larger
effects have been observed for engineered nanomaterials          particles had no effect. This was supported by our obser-
in other assays [36]. Based on this result, staining-based       vations, as T84 monolayers treated with 10 nm AgNP
assays may be more reliable methods to determine cellu-          showed fewer, lighter cell surface agglomerates than those
lar toxicity effects of AgNP. The decrease in luminescence       treated with 20 nm AgNP (data not shown), suggesting
after treatment with the 10 nm AgNP at the 100 µg/mL             that more of the 10 nm particles may have been passing
dose appears to parallel the decrease in TER after the           through the mucus layer to the epithelial surface. Regard-
same treatment. However, a decrease in luminescence              less, it is clear that the presence of the mucus layer and its
was also observed for the 20, 75 and 110 nm AgNP at the          impact on AgNP exposure would more accurately reflect
100 µg/mL dose and for the 20 nm AgNP at the 20 µg/              an in vivo exposure situation.
mL dose, none of which showed any significant effects in            One of the most challenging aspects of research in
the TER study. Combined with the results of the staining-        this field is predicting the behavior, dispersity, and integ-
based assay, which showed little cytotoxic effect of any         rity of AgNP in the actual gut environment. Numerous
AgNP exposure, these observations suggest that AgNP              studies have shown that AgNP agglomerate and incur
cytotoxicity is not responsible for the observed increase        other physical changes in culture media and many have
in permeability. However, cells treated with silver ace-         assumed that passage of nanoparticles through the GI
tate exhibited both significantly increased cell death and       tract would cause similar effects. However, a study pub-
reduced cell viability, especially at the higher dose, indi-     lished by Bohmert and colleagues found that process-
cating that the increased permeability is likely a result of     ing of AgNP in an artificial digestion simulation did not
cytotoxic effect.                                                significantly affect cytotoxicity and only caused minor
   Several groups have published in vitro cell culture-          agglomeration of particles [38]. Other studies have sug-
based assessments of AgNP on intestinal epithelial cell          gested that AgNP may dissolve in the human gut envi-
lines [37–42]. Most of these studies were performed using        ronment, or possibly dissolve and then precipitate as new
the Caco-2 cell line and found varying results regarding         Ag-based particles [47]. The U.S. EPA currently does not
cytotoxicity and impact of AgNP on epithelial cells. How-        permit the sale of unregistered and untested food con-
ever, in agreement with the results of this study, most of       tact materials containing nanoparticles [48], but their
these works also found that impacts on cells were size-          use is allowed for some other items and household goods
and dose-dependent, with smaller-sized particles dem-            [49]. However, AgNP-containing medical products, food
onstrating a larger effect. There is growing interest in         contact materials, and supplements continue to be avail-
developing novel in vitro approaches to mimic in vivo            able in many countries and, given that increased intes-
conditions in the GI tract. Recently, Georgantzopoulou           tinal permeability has been linked to numerous health




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conditions, it is clear that this topic deserves further      110 nm. Three of the AgNP used in this study (10, 75 and
study. Future work in this area should continue to inves-     110 nm) were used in previous work published by this
tigate the impacts of AgNP on permeability, the behav-        group. In depth characterization of this batch of AgNP,
ior of AgNP in the gut environment, and include studies       including DLS, TEM, ICP-MS, and zeta-potential analysis
that evaluate the effects of chronic, low-dose exposure on    was performed on these particles prior to use and charac-
intestinal barrier function.                                  terization data is available in the referenced publications
                                                              [32, 35]. The 20 nm AgNP was obtained in identical for-
Conclusions                                                   mulation to above particles and in-depth characteriza-
This study used a comprehensive approach to evaluate          tion data, including analysis of size [TEM and dynamic
the effects of exposure to AgNP of different sizes and        light scattering (DLS)], concentration, and zeta potential,
doses on intestinal permeability in an in vitro model of      was provided by the company. All AgNP were spheri-
the human gut epithelium. The in vitro system used in         cal in shape and stabilized with a sodium citrate surface
this study, T84 human colonic epithelial cells, serve as a    and were suspended in 2 mM sodium citrate solution.
superior model for the human epithelial barrier because       Nanoparticles (100 µL of 1 mg/mL solutions) were plated
of their ability to form polarized monolayers and their       onto Sheep’s Blood Agar plates and incubated for 72 h at
natural production of a mucus layer. In particular, the       37 °C to confirm sterility. Nanoparticles were also tested
presence of this adherent mucus layer allows this model       using the ToxinSensor Chromogenic LAL Endotoxin
to more accurately predict epithelial-nanoparticle inter-     Assay Kit (GenScript, Piscataway, NJ, USA) according to
actions in an in vivo gut environment. Exposure to            the manufacturer’s protocol to confirm lack of endotoxin
10 nm AgNP resulted in increased intestinal permeabil-        contamination. Protein corona formation was tested for
ity at both low (20 µg/mL) and high (100 µg/mL) doses,        20 and 100 µg/mL concentrations of nanoparticles using
although effects of the higher dose were observed ear-        the protocol described earlier [50]. Briefly, AgNP were
lier and were significantly more pronounced. Unlike the       incubated for 24 h in T84 complete cell culture medium
elevated permeability caused by treatment with the silver     and water, after which samples were removed and centri-
acetate controls, this increase appeared to be independ-      fuged at 13,000 rpm for 15 min. AgNP were washed 1X
ent of any cytotoxicity effects. Comparable effects were      with PBS and resuspended in 30 µL sterile, distilled water.
not observed for the 20, 75 or 110 nm AgNP at either          Novex Tris–Glycine SDS Sample Buffer (Life Technolo-
doses. The observation of nanoparticle-like silver bodies     gies, Carlsbad, CA, USA) was added to suspensions and
within cells and the detection of silver in basal transwell   samples were boiled at 95 °C for 10 min. AgNP samples
compartments indicate that both penetration of AgNP           and protein ladder were loaded onto 12 % Tris–HCl and
into cells and passage of AgNP or derivatives through         4–20 % Tris–HCl precast gels (Bio-Rad, Hercules, CA,
the cell layer are occurring. Exposure to 10 nm AgNP          USA) and separated using SDS-PAGE. Finally, gels were
resulted in the up-regulation of genes involved in the        stained with Coomassie Blue dye and visualized. Stock
function of tight junctions and desmosomes, possibly          solutions of nanoparticles were stored in the dark at 4 °C
indicating that cells were attempting to compensate for       for the duration of the experiment.
the increased permeability by increasing the expression

                                                              T84 cells (ATCC CCL-248™), a human colorectal car-
of genes involved in maintaining cell–cell adhesion. The      Cell culture
ability of the 10 nm AgNP to cause changes in perme-
ability and gene expression not observed with the larger      cinoma cell line, were obtained from ATCC (Manas-
particles could be due to an increased capacity to transit    sas, VA, USA). Complete growth media was composed
the protective mucus layer and penetrate the intestinal       of Dulbecco’s Modified Eagle Medium (DMEM)/F-12
epithelium (Fig. 8). The results of this study suggest that   media supplemented with l-glutamine and HEPES
gastrointestinal exposure to small-size silver nanoparti-     (ATCC, Manassas, VA, USA), with added 5 % Fetal
cles may cause increased intestinal permeability, even in     Bovine Serum (FBS), Penicillin/Streptomycin, and Fungi-
the absence of any toxicity effects on cells. This has the    zone. Cells were grown in complete media using 75 cm2
potential to cause unwanted effects such as elevated gut      cell culture flasks until approximately 70–80 % confluent
inflammation and the increased passage of antigens and        and then split using 0.25 % Trypsin–EDTA into desired
microorganisms into circulation.                              vessels. Cell cultures were maintained in a 37 °C incuba-
                                                              tor with 5 % CO2 and 95 % humidity.
Methods
Silver nanoparticles and nanoparticle characterization        Cellular toxicity/viability assays
All AgNP were obtained from NanoComposix (San Diego,          Cellular toxicity was evaluated by acridine orange/ethid-
CA, USA) in BioPure formulations at sizes 10, 20, 75 and      ium bromide staining. T84 cells were seeded onto plastic




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                                  110 nm AgNP

                                                                               Ag" Ag+                            10nm
                                                    20 nm                                                         AgNP
                     75 nm
                                                    AgNP                         Ag+
                     AgNP




 Fig. 8 Summary of AgNP effects observed in this study. Exposure to 10 nm AgNP was shown to increase permeability of the epithelial barrier, while
 exposure to larger particles (20, 75, 110 nm) did not demonstrate any significant effects



coverslips and allowed to grow as described in the previ-                  added. The CellTiter-Glo assay was then performed using
ous section. Cell monolayers were then treated with the                    the manufacturer’s instructions, with the luminescence
AgNP (100 µg/mL dose) for 48 h. Wells treated with sterile,                reading taken using a Cytation 3 Multi-Mode Reader (Bio-
endotoxin-free water and silver acetate (20 and 100 µg/mL)                 Tek, Winooski, VT, USA).
were used as controls. Because of silver acetate toxicity, one
well was also treated with 100 µg/mL of silver acetate for                 Transepithelial electrical resistance
3 h to serve as comparison. After the designated treatment                 Seeding of cells and experimental measurement of tran-
time, AgNP and media were removed from wells and cell                      sepithelial electrical resistance (TER) was performed
monolayers were washed twice with room-temperature                         according to methods established earlier [26, 51–54]. T84
Hank’s balanced salt solution (HBSS). Fresh media was                      cells were plated onto 6.5 mm, PFTE, collagen-coated
then replaced into all wells and acridine orange and eth-                  transwell inserts (Corning, Corning, NY, USA) at a con-
idium bromide were added to each well (3 µg/mL final                       centration of 2.0 × 105 cells/well. Complete cell culture
concentration for each). The plate was incubated at 37 °C                  media was added to apical and basal reservoirs and cell
for 15 min, after which coverslips were removed from the                   monolayers were allowed to grow for 5–10 days, with
plate and visualized on microscope slides using an inverted                periodic readings of TER taken using a STX electrode
fluorescence microscope (Life Technologies, Carlsbad, CA,                  probe and EVOM2 Epithelial Voltohmmeter (World
USA). Cellular viability was assayed using the CellTiter-Glo               Precision Instruments, Sarasota, FL, USA). Once wells
Luminescent Cell Viability Assay (Promega, Madison, WI,                    reached approximately 800–1000 Ω, media was changed
USA). Briefly, T84 cells were seeded onto 96-well plates at a              and cells were allowed to equilibrate for 3 h. A baseline
density of approximately 5 × 104 cells/well. These cells were              TER reading was then taken, after which nanoparticles
allowed to grow until confluent (3–5 days) and then spiked                 or controls were added. AgNP and silver acetate were
with AgNP and silver acetate (20 and 100 µg/mL). Water-                    added to wells for a final concentration of 20 and 100 µg/
treated cells served as controls and 0.5 % hydrogen perox-                 mL. This range covers the concentration present in con-
ide was used as a toxicity control. After treatment for 48 h,              sumer use products as well as a high dose (100 µg/mL) to
media containing AgNP was removed and fresh media was                      establish a reference/positive control. In a separate well,




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ethylene glycol tetraacetic acid (EGTA) at a final concen-      washed again (2 × 5 min) and incubated with a mouse
tration of 2.5 mM was used as a positive control to induce      monoclonal primary antibody (15 µg/mL) overnight at
increased permeability in transwells [40]. TER measure-         4 °C. Primary antibodies for Occludin and E-cadherin
ments of cells were taken before exposure to AgNP/con-          were obtained from the Tight Junction Antibody Sam-
trols, as well as 15 min, 1, 2, 3, 24 and 48 h post-exposure.   pler Pack (Invitrogen, Carlsbad, CA, USA). Cells were
Statistical data analysis was performed using SigmaPlot         washed in PBS (4 × 5 min) and 5 µg/mL of a fluorescein-
software (Systat Software, San Jose, CA, USA) and TER           conjugated goat anti-mouse secondary antibody solution
measurements are presented as percent of original base-         was added and incubated for 1 h at room temperature,
line value (measured before addition of AgNP/controls).         after which cells were washed again in PBS (4 × 5 min).
After completion of TER transwell studies, media from           Finally, coverslips were mounted onto microscope slides
basal compartments was collected and stored at −20 °C           and visualized using an inverted fluorescence microscope
until analysis by inductively coupled plasma mass spec-         (Life Technologies, Carlsbad, CA, USA).
trometry (ICP-MS) could be completed to estimate pas-
sage of silver through the cell layer. Given that there are     QPCR analysis of cellular permeability
many more 10 nm AgNP than 75 or 110 nm AgNP in the              RNA was extracted from transwells using the PARIS
same concentration of (100 µg/mL) AgNP solution, work           kit (Life Technologies, Carlsbad, CA, USA) according
was also done to establish whether particle numbers of          to the manufacturer’s instructions. Extracted RNA was
AgNP played some role in the demonstrated effect on             treated with the Turbo DNA-free kit (Life Technologies,
permeability. In the TER experiment, differences in per-        Carlsbad, CA, USA) to remove contaminating DNA

                                                                centration of RNA was quantified using a NanoDrop®
meability were still observed when the number of 10 nm          and samples were stored at −80 °C until use. The con-
AgNP was adjusted to be roughly that of 110 nm AgNP
at 100 µg/mL concentration, suggesting that effects are         ND-1000 (NanoDrop, Wilmington, DE). RNA was
independent of particle number (data not shown).                reverse transcribed to make cDNA using the Two-Step
                                                                Reverse Transcription TaqMan kit (Applied Biosys-
Transmission electron microscopy                                tems, Foster City, CA, USA). Gene expression analysis
For imaging by transmission electron microscopy (TEM),          of 84 cell junction-related genes was examined using
transwell inserts of T84 cells were grown as described          the RT2 Profiler PCR Array Human Cell Junction Path-
previously and spiked with AgNP and controls. After             way Finder (Qiagen, Valencia, CA, USA). Plates were
the 48 h time point, all cell culture media was removed         analyzed using an ABI 7500 Real-Time PCR system
and transwells were fixed in 4 % glutaraldehyde (Electron       (Life Technologies, Carlsbad, CA, USA), with ampli-
Microscopy Sciences, Hatfield, PA, USA). Fixed tissues          fication conducted with an initial 10-min step at 95 °C
were further processed as described earlier [55]. Tran-         followed by 40 cycles of 95 °C for 15 s and 60 °C for
swells were imaged at the FDA NanoCore Facility (Jeffer-        1 min. One independent sample was used for each plate
son, AR, USA) and energy-dispersive X-ray spectroscopy          and 3 plates were run for every experimental group.
(EDS) analysis was performed to confirm the presence of         Data was analyzed using the web-based Qiagen Data
silver within cells.                                            Analysis Center with normalization of the raw data to
                                                                provided housekeeping genes (β-ACT, β2 M, GAPDH,
Immunofluorescence                                              HPRT1, and RPLP0). Data from T84 cells treated with
T84 cells were seeded onto plastic coverslips (Thermo           100 µg/mL AgNP (10 and 20 nm) and silver acetate
Fisher, Waltham, MA, USA) in a 24-well plate at a den-          (20 µg/mL) were compared to control cells treated only
sity of approximately 2.0 × 105 cells/well and incubated        with UltraPure water (Life Technologies, Carlsbad,
3–7 days, until cells were found to be confluent by vis-        CA, USA). Changes in gene expression for RT2 Profiler
ual observation. Cell monolayers were then treated with         plates were evaluated by Student’s t-test, with genes
100 µg/mL of the 10 nm AgNP for 24 h. Wells treated             with p < 0.05 designated as significant.
with EGTA (2.5 mM), silver acetate (50 µg/mL), and an
untreated well were used as controls. After completion          Additional file
of treatment, cell culture media was removed from wells
and cells were washed twice with ice-cold PBS. Cells were        Additional file 1: Figure S1. Energy Dispersive Spectroscopy (EDS)
                                                                 spectra for transmission electron microscopy (TEM) images of T84 cells.
fixed in a 1:1 mix of methanol and acetone for 15 min at         Figure S2. Expression of E-cadherin protein in T84 cells. Figure S3. T84
room temperature. Cells were rinsed again with PBS and           cell monolayer after Periodic acid-Schiff staining, showing presence of
permeabilized for 3 min with 0.1 % Triton X-100 in PBS.          mucus layer. Table S1. Percentage of total spiked silver detected in basal
                                                                 compartment of T84 transwells after treatment with AgNP and silver
Next, cells were washed twice with PBS and blocked in            acetate, as measured by ICP-MS.
3 % milk powder for 1 h at room temperature. Cells were




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